Case 2:05-cV-02054-.]P|\/|-de Document 10 Filed 08/29/05 Page 1 of 17 Page|D 1

 

IN THE UNITED sTATEs DISTRICT coURT 'HED BY._ ,”_____Dg
FoR THE wEsTERN DIsTRIcT oF TENNESSEE
wEsTERN DIvIsION 05 AUB 9 FH von
mertens
X CLEHA. U.S‘ D§§lH!CT COURI
SEAN ANTHONY NEWBERG, x WDOFTN'WMS
X
Plaintiff, X
X
vs. X No. 05-2054~Ml/P
X
sHERIFF MARK LUTTRELL, et al., x
l
Defendants. X
X

 

ORDER CORRECTING THE DOCKET
ORDER GRANTING LEAVE TO AMEND
ORDER ASSESSING $150 FILING FEE
ORDER OF DISMISSAL
ORDER DENYING APPOINTMENT OF COUNSEL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff Sean Anthony Newberg, RNI number 150171, who is
currently an inmate at the Shelby County Detention Center (“SCDC")1
in Memphis, filed a pro §§ complaint pursuant to 42 U.S.C. § 1983 on
January 12, 2005 in connection with his previous confinement at the
Shelby County Criminal Justice Complex (“Jail”), Where his booking

number was 04118656.2 The Clerk shall record the defendants as Shelby

 

1 The word “prison” is used in this order to refer to all places of

confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

2 This address was obtained from this plaintiff's most recent lawsuits,
Which were filed on June 20, 2005. In order to facilitate the delivery of the
plaintiff's mailr the Clerk is ORDERED to correct the docket to reflect the
plaintiff’s current booking number.

Th!s document entered on the docket sheet fn compliance
'w|th Hule 58 and/or 79(a) FRCP on g ',ZQQEZ /O

Case 2:05-cV-02054-.]P|\/|-de Document 10 Filed 08/29/05 Page 2 of 17 Page|D 2

County Sheriff Mark Luttrell; Lieutenant Henderson; Sergeant Rudd;
Grievance Counselor Love; and Shelby County.3

Since the commencement of this action, the plaintiff has
filed a number of additional documents. On January 27, 2005,
plaintiff filed a letter concerning his impending change of address.
On February 2, 2005, the plaintiff filed.a motion seeking appointment
of counsel and an amendment to the complaint.4 On February 4, 2005,
plaintiff submitted additional documents concerning one of his
claims.5 On February 9, 2005, plaintiff repeated his application for
appointment of counsel and filed another proposed amendment to his
complaint. On March 14, 2005, the Clerk filed a letter from the
plaintiff inquiring about the status of the case. Finally, on March
29, 2005, the Clerk filed another letter from the plaintiff inquiring
about the status of the case. That letter also sought to amend the
prayer for relief to seek injunctive relief. For good cause shown,

each of the plaintiff’s motions to amend are GRANTED.6

 

3 The Court construes the plaintiff's allegations concerning the Jail

as an attempt to assert a claim against Shelby County.

‘ Pursuant to Fed. R. Civ. P. l$(a), plaintiff is entitled to amend his

complaint once without leave of Court prior to the filing of a responsive
pleading. Accordingly, the Court CONSTRUES the February 4, 2005 filing as an
amendment to the complaint.

5 For reasons that are not clear, the docket sheet indicates this

document was filed on February 5, 2005.

5 Finally, on May‘ 9, 2005, the Clerk docketed a letter from. the

plaintiff concerning the dismissal of another case he filed concerning the same
subject matter. Newberq v. Shelbv Countv, et al., No. 05-2008-B/V (W.D. Tenn.
dismissed Apr. 20, 2005), which was dismissed, in part, for failure to exhaust.
This letter has no bearing on the instant case. and this Court does not maintain
forms that can be used by prisoners to exhaust their administrative remedies.

2

Case 2:05-cV-02054-.]P|\/|-de Document 10 Filed 08/29/05 Page 3 of 17 Page|D 3

I. Assessment of Filinq Fee

Under the Prison Litigation Reform Act of 1995 (“PLRA”), 28
U.S.C. § l915(b), all prisoners bringing a civil action must pay the
full filing fee of $150 required by 28 U.S.C. § 1914(a).7 The ip fp;mg
pauperis statute, 28 U.S.C. § 1915(a), merely provides the prisoner
the opportunity to make a “downpayment” of a partial filing fee and
pay the remainder in installments.

In this case, plaintiff has properly completed and
submitted an pp fp;mp pauperis affidavit and a certified copy of his
trust fund account statement. Pursuant to 28 U.S.C. § 1915(b)(1), it
is ORDERED that the plaintiff cooperate fully with prison officials
in carrying out this order. It is further ORDERED that the trust fund
officer‘ at plaintiff’s prison shall calculate a jpartial initial
filing fee equal to twenty percent (20%) of the greater of the
average balance in or deposits to the plaintiff’s trust fund account
for the six months immediately' preceding the completion of the
affidavit. When the account contains any funds, the trust fund
officer shall collect them and pay them directly to the Clerk of
Court. If the funds in plaintiff's account are insufficient to pay
the full amount of the initial partial filing fee, the prison
official is instructed to withdraw all of the funds in the
plaintiff's account and forward them to the Clerk of Court. On each
occasion that funds are subsequently credited to plaintiff’s account

the prison official shall immediately' withdraw those funds and

 

7 Because this action was filed prior to March 7, 2005, the new $250

civil filing fee is inapplicable.

Case 2:05-cV-02054-.]P|\/|-de Document 10 Filed 08/29/05 Page 4 of 17 Page|D 4

forward them to the Clerk of Court, until the initial partial filing
fee is paid in full.

It is further ORDERED that after the initial partial filing
fee is fully paid, the trust fund officer shall withdraw from the
plaintiff's account and._pay to the Clerk of this Court monthly
payments equal to twenty percent (20%) of all deposits credited to
plaintiff's account during the preceding month, but only when the
amount in the account exceeds 510.00, until the entire $150.00 filing
fee is paid.

Each time that the trust fund officer makes a payment to
the Court as required by this order, he shall print a copy of the
prisoner's account statement showing all activity in the account
since the last payment under this order and file it with the Clerk
along with the payment.

All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

and shall clearly identify plaintiff’s name and the case number on
the first page of this order.

If plaintiff is transferred to a different prison or
released, he is ORDERED to notify the Court immediately of his change
of address. If still confined he shall provide the officials at the
new prison with a copy of this order.

If the plaintiff fails to abide by these or any other
requirement of this order, the Court may impose appropriate
sanctions, including a monetary fine, without any additional notice

or hearing by the Court.

Case 2:05-cV-02054-.]P|\/|-de Document 10 Filed 08/29/05 Page 5 of 17 Page|D 5

The Clerk shall mail a copy of this order to the prison
official in charge of prison trust fund accounts at plaintiff's
prison. The Clerk is further ORDERED to forward a copy of this order
to the Jail Director to ensure that the custodian of the plaintiff's
inmate trust account complies with that portion of the PLRA
pertaining to the payment of filing fees.

The obligation to pay this filing fee shall continue
despite the immediate dismissal of this case. 28 U.S.C. § l915(e)(2).
The Clerk shall not issue process or serve any papers in this case.
II. Analvsis of Plaintiff's Claims

The complaint alleges that the plaintiff has received
insufficient exercise, that he has been locked down for excessive
periods without the opportunity to bathe or exercise, and that the
grievance system has been inadequate to address his complaintsF
Defendant Rudd is named as a defendant because she supervises the pod
officers and relief officers who failed to allow the plaintiff
exercise time. Defendant Henderson is named as a defendant because he
is in charge of scheduling the gym. Defendant Love is named as a
defendant because he allegedly did not afford the plaintiff due
process in connection with his grievances. Defendant Luttrell is
named in order to hold him responsible for the acts of his
subordinates. The plaintiff seeks compensatory and punitive damages.

The Sixth Circuit has held that 42 U.S.C. § 1997e(a)

requires a federal court to dismiss a complaint without prejudice

 

a This is the second lawsuit the plaintiff has filed concerning these
issues. Plaintiff's first action, Mberor v. Shelbv Countv. et al., No. 05-2008-
B/V (W.D. Tenn. filed Jan. 3, 2005), was dismissed on April 20, 2005 pursuant to
42 U.S.C. § 1997e(a) and 28 U.S.C. §§ 1915(e)(2) (B) (ii) and 1915A(b) (l). It is
not clear why the plaintiff filed two separate lawsuits.

5

Case 2:05-cV-02054-.]P|\/|-de Document 10 Filed 08/29/05 Page 6 of 17 Page|D 6

whenever a prisoner brings a prison conditions claim without
demonstrating that he has exhausted his administrative remedies.

Brown v. Toombs, 139 F.3d 1102 (6th Cir. 1998); see Porter v. Nussle,

 

534 U.S. 516, 532 (2002) (“[T]he PLRA’s exhaustion requirement
applies to all inmate suits about prison life, whether they involve
general circumstances or particular episodes, and whether they allege
excessive force or some other wrong.”); Booth v. Churner, 532 U.S.
731 (2001) (prisoner seeking only money damages must exhaust
administrative remedies although damages are unavailable through
grievance system). This requirement places an affirmative burden on
prisoners of pleading particular facts demonstrating the complete
exhaustion of claims. Knuckles El v. Toombs, 215 F.3d 640, 642 (6th
Cir. 2000). To comply with the mandates of 42 U.S.C. § l997e(a),

a prisoner must plead his claims with specificity and show

that they have been exhausted by attaching a copy of the

applicable administrative dispositions to the complaint or,

in the absence of written documentation, describe with

specificity the administrative proceeding and its outcome.
;QL at 642; see also Bovd v. Corrections Corp. of Am., 380 F.3d 989,
985~96 (6th Cir. 2004) (describing the standard for demonstrating

exhaustion when prison officials fail to respond in a timely manner

to a grievance), cert. denied, 125 S. Ct. 1639 (2005); Baxter v.

 

Rose, 305 F.3d 486 (6th Cir. 2002) (prisoner who fails to allege

 

exhaustion adequately may not amend his complaint to avoid a ppg
sponte dismissal); Curry v. Scott, 249 F.3d 493, 503-04 (6th Cir.
2001) (no abuse of discretion for district court to dismiss for
failure to exhaust when plaintiffs did not submit documents showing
complete exhaustion of their claims or otherwise demonstrate
exhaustion). Furthermore, § 1997(e) requires the prisoner to exhaust

6

Case 2:05-cV-02054-.]P|\/|-de Document 10 Filed 08/29/05 Page 7 of 17 Page|D 7

his administrative remedies before filing suit and, therefore, he
cannot exhaust these remedies during the pendency of the action.
Freeman v. Francis, 196 F.3d 641, 645 (6th Cir. 1999). Finally, the
Sixth Circuit recently held that district courts are required to
dismiss a complaint in its entirety, pursuant to 42 U.S.C. §
1997e(a), that contains any unexhausted claims. Jones Bev v. Johnson,
407 F.3d 801, 805-09 (6th Cir. 2005).

In this case, plaintiff submitted a variety of documents to
support his claims. With respect to his claim about a lack of
exercise, plaintiff filed a grievance (Grievance No. 99445) on or
about November 5, 2004. As plaintiff did not provide a copy of that
grievance, it is not possible to verify what it encompassed except
that the subject matter was exercise. The matter was deemed grievable
and, in response, defendant Love wrote him a memorandum, dated
December 2, 2004, stating that, “[d]ue to escape on the jail, the
recreation time was modified and awaiting approval. Until the
schedule is approved, you will [not] be scheduled to attend the gym."
In response, the plaintiff wrote, “Due to your lame excuse I will not
grieve for exercise anymore from this day forward. However, I would
like to say that other pods have been going and that no excuse is a
good excuse when it comes to violating one’s humanity and rights.”o
This response was apparently treated as an appeal, as a handwritten

note, dated December 3, 2004, states “Rec. time will increase as soon

Case 2:05-cV-02054-.]P|\/|-de Document 10 Filed 08/29/05 Page 8 of 17 Page|D 8

as the outside area is open. The current schedule is designed to give
everyone some time.”9

The plaintiff contends he submitted another grievance
(Grievance No. 95150) on or about November 14, 2004 concerning the
fact there has been no gym call during the past week. Defendant Love
returned this grievance to plaintiff without processing.10

Plaintiff has submitted a copy of a grievance (Grievance
No. 99794) he allegedly prepared cnl or about November 16, 2004
concerning inadequate ventilation in. his cell. He contends that
defendant Love returned it to him without processing, presumably
because it was not signed by the pod officer or floor sergeant, as
required by policy.

Plaintiff filed a grievance (Grievance No. 99793) on or

about November 18, 2004 complaining that, on or about November 15,

 

9 Plaintiff also submitted a response, dated, January 5, 2005, to
Grievance No. 104080, stating that, “[s]ince you filed this complaint. you have
been relocated to the 4th floor." Plaintiff's response, dated January 8, 2005,
states: “Nothing has changed because Lt. Henderson had me relocated to the fourth
floor with and through his influence. The problem still remains even on the 4th
floor. Although I'm now getting at least 1 hour of exercise for every 168 hours
that I am incarcerated that this facility it still remains irregular.” It appears
that the subject of this grievance was recreation, although the specifics are not
provided. It is not clear whether plaintiff's response constituted an appeal and,
if so, whether it was resolved.

m The explanation for defendant Love's action is apparently contained
in several memos he wrote to the plaintiff in connection with other grievances,
such as his November 30, 2004 response to Grievance No. 95247, which was submitted
by the plaintiff even though it has no relevance to any issue in this cases

This is an issue that should have been addressed by the pod
officer, sergeant, and/or unit manager prior to you filing a formal
complaint. I would recommend that you get the signature of the pod
officer or floor sergeant, as stated in the policy. so that they can
have the opportunity to resolve this issue. However, based on the
current inmate grievance policy, I will have to make this grievance
nongrievable until you follow proper protocol. (Emphasis in
original.)

Case 2:05-cV-02054-.]P|\/|-de Document 10 Filed 08/29/05 Page 9 of 17 Page|D 9

2004. he was locked down for approximately twenty-eight (28) hours
without a shower. The matter was deemed grievable and defendant Love
responded with a memorandum, dated December 3, 2004, stating that
“[y]ou are allotted three (3) hours of recreation time each day which
is required according to policy and procedures.”11 There is no
indication that the plaintiff appealed this response.

Plaintiff filed a grievance (Grievance No. 99821) on or
about December 2, 2004 in which he complained that, as of November
30, 2004, he had not had a shower for forty~eight (48) hours because
the pod was on lockdown. The grievance states that other inmates were
permitted to shower. The grievance further asserts that defendant
Henderson made a false entry in the log book concerning this
situation. The netter was deemed grievable on December 3, 2004.
Defendant Love stated in a memorandum that “[t]he information was
forwarded to the unit manager for review and did indicate that there
was validity' to your complaint and the situation was resolved.
However, since you filed this complaint, you were relocated [to] the
4th floor.”12

Plaintiff filed.another grievance (Grievance No. 104082) on
or about December 2, 2004 in which he complained that, as of November
29, 2004, he had been in his cell for thirty-one (31) hours without

a shower. That grievance states that the officer on duty told inmates

 

n The Jail apparently requires inmates to shower during recreation time.

n Plaintiff apparently appealed this response. On February 4, 2004,
plaintiff filed the response to his appeal, which is dated January 31, 2005.
However, this response cannot be considered because inmates are required to
completely exhaust their grievances before commencing lawsuits. Freeman, 196 F.3d
at 645.

Case 2:05-cV-02054-.]P|\/|-de Document 10 Filed 08/29/05 Page 10 of 17 Page|D 10

that defendant Henderson would be addressing the pod shortly. The
matter was deemed nongrievable by defendant Love on December 3, 2004
because the grievance was repetitive of Grievance No. 99821.

Plaintiff filed a third grievance (Grievance No. 104148) on
or about December 2, 2004. concerning the lockdown that took place on
November 29 and 30, 2004. This grievance stated that Officer Massey
said she had no idea why there was a lockdown and that she was not
responsible for it. Defendant Henderson also allegedly could not
answer why the pod was on lockdown and he allegedly stated that
“everyone should just leave it alone.” The matter was deemed
nongrievable on December 3, 2004 because the grievance was not signed
by the pod officer or floor sergeant, as required by policy.

Plaintiff filed a fourth grievance (Grievance No. 99823) on
or about December 2, 2004 in which he complained that he had been
detained in his cell for fifty-seven (57) hours without recreation.
This grievance mentions defendant Henderson, although it says nothing
substantive about him except that he “finally addressed the pod as
well as Officer' Massey.” The matter was deemed nongrievable by
defendant Love on December 3, 2004 because the plaintiff did not get
the signature of the pod officer or floor sergeant, as required by
policy.

Plaintiff filed a grievance (Grievance No. 95249) on or
about December 3, 2004 in which he complained that, on November 23,
2004, an Officer Morgan, who is not a party to this action, locked
down the pod on schedule and threatened to continue the lockdown for

seventy-two (72) hours if any inmate complained. Defendant Love

10

Case 2:05-cV-02054-.]P|\/|-de Document 10 Filed 08/29/05 Page 11 of 17 Page|D 11

deemed. the .matter nongrievable on December 3, 2004 because the
plaintiff did not get Officer Morgan's signature on the grievance.
The grievance form states that Morgan was presented with the
grievance but refused to sign it.

Plaintiff filed another grievance (Grievance No. 104602) on
or about December 6, 2004. That grievance also complains about a
failure to correct conditions in response to a previous grievance
concerning denial of exercise. The matter was deemed nongrievable on
December 15, 2004 because the plaintiff had been relocated within the
Jail since the filing of the grievance.

Plaintiff filed a fifth grievance (Grievance No. 1041`50) on
or about December 6, 2004 concerning the lockdown on November 29 and
30, 2004. That grievance complained about a new written policy that
inmates violating rules would be more severely punished. The precise
subject of this grievance is not clear, although it appears that
clean sheets were not promptly issued on orders of defendant
Henderson and inmates were told that, because someone, presumably a
Jail employee, had been threatened, rules would be strictly enforced.
The matter was deemed nongrievable on December 15, 2004 because the
grievance was not signed by a pod officer or staff sergeant.
Plaintiff wrote on the bottom of the grievance that he was afraid to
ask for a signature, although it appears that that response was
written on December 15, 2004. The grievance also apparently bears a
staff signature as of December 15, 2004. The complaint does not state

the ultimate resolution of this grievance.

ll

Case 2:05-cV-02054-.]P|\/|-de Document 10 Filed 08/29/05 Page 12 of 17 Page|D 12

With respect to the complaint about the adequacy of the
grievance process, plaintiff filed a grievance (Grievance No. 100290)
on or about November 16, 2004 in which he complained that defendants
Henderson and Rudd refused to sign grievances. Defendant Love deemed
the matter nongrievable on November 18, 2004, stating in a memorandum
that “I have spoken. with the unit manager‘ on 19 November 2004
concerning your complaint and he has assured me that the situation
will be resolved. If you continue to have problems, request to speak
with the unit manager again.”

Plaintiff also submitted a grievance (Grievance No. 100292)
that he contends he tried to file on or about November 13, 2004
concerning the fact that he had not heard about the resolution of the
appeals on Grievance Nos. 50956 and 97132.13 Defendant Love allegedly
refused to accept this grievance for processing, presumably because
it was not signed by the pod officer or floor sergeant.

Plaintiff filed a grievance (Grievance No. 104085) on or
about November 29, 2004 complaining that he had written a letter to
internal affairs (“IAB”) concerning' matters too complex for the
grievance process but had not received a response. Defendant Love
responded with a memorandum, dated November 30, 2004, that stated:
“Please be patient until you have received a response. Once the Chief

reviews your letter, I am sure he will respond accordingly.”

 

13 'I'he plaintiff has not attached copies of those grievances or described
their subject matter.

12

Case 2:05-cV-02054-.]P|\/|-de Document 10 Filed 08/29/05 Page 13 of 17 Page|D 13

In his February 2, 2005 filing, the plaintiff submitted
copies of letters he received from. the Tennessee Department of
Correction and the Tennessee Corrections Institute.14

In his February 4, 2005 filing, plaintiff submitted the
results of his appeal of Grievance No. 99821, dated January 31, 2005,
along with his commentary.

In his February 9, 2005 filing, the plaintiff asked for
appointment of an attorney to represent him. The plaintiff also
submitted another grievance, dated January 31, 2005, and the initial
response, dated February 2, 2005. As previously stated, ppg §pp;a pp.
5, 9 n.10, this grievance cannot be considered because it post-dates
the filing of the complaint.

Just as with his first lawsuit concerning this subject
matter, plaintiff has not satisfied his burden of demonstrating that
he exhausted his administrative remedies on each claim and against
each defendant. Plaintiff has apparently not attempted to exhaust his

claims against defendants Luttrell and Love, as required by Moorer v.

 

“ These documents, as well as the plaintiff's complaint to the IAB and

his letters to Jail officials, have no bearing on whether he satisfied the
requirements of § 1997e(a). The Sixth Circuit has held that an inmate's letters
and petitions are no substitute for a formal inmate grievance. Shephard v.
Wilkinson, 27 Fed. Appx. 526, 527 (6th Cir. Dec. 5, 2001) (“While Shephard asserts
that he has raised his complaints in numerous letters to prison and public
officials, a prisoner must utilize the formal grievance process provided by the
state; he cannot comply' with the requirements of § 1997e(a) by informally
presenting his claims.”); Hewell v. Leroux, 20 Fed. Appx. 375, 377 (6th Cir. Sept.
21, 2001) (same); see also Clark v. Beebe, No. 98-1430, 1999 WL 993979, at *2 (6th
Cir. Oct. 21, 1999) (district court erred in holding that prisoner had
substantially'complied.with exhaustion requirement by writing a letter to the U.S.
Attorney's office that eventually made its way to the warden of plaintiff's
prison). Similarly, internal affairs investigations do not excuse an inmate from
using the inmate grievance process. Curry, 249 F.3d at 504 (“an investigation by
a prison Use of Force Committee will not substitute for exhaustion through the
prison’s administrative grievance procedure”); Freeman, 196 F.3d at 644-45
(investigation by prison Use of Force committee and state highway patrol
insufficient).

 

13

Case 2:05-cV-02054-.]P|\/|-de Document 10 Filed 08/29/05 Page 14 of 17 Page|D 14

§p;p§, 83 Fed. Appx. 770, 772 (6th Cir. Dec. 9, 2003) (plaintiff did
not exhaust clain1 against warden because his grievance did. not
identify the warden or articulate any claim against her); Thomas v.
Woolum, 337 F.3d 720, 733-34 (6th Cir. 2003); QB££I, 249 F.3d at 504.
Moreover, plaintiff did not file a grievance against defendant Rudd
concerning excessive lockdowns. Instead, the only grievance against
Rudd concerned her failure to sign grievances. Thus, plaintiff has
not exhausted his primary claim against Rudd.

The Sixth Circuit has stated that “[a] plaintiff who fails
to allege exhaustion of administrative remedies through
‘particularized averments' does not state a claim on which relief may
be granted, and his complaint must be dismissed ppg sponte.” Baxter,
305 F.3d at 489.15 Moreover, pursuant to the recent decision in Qppg§
§py, a district court must dismiss any complaint that contains
unexhausted claims rather than attempting to sever the exhausted
claims. As a result, a case must be dismissed unless a prisoner has
exhausted each of his claims with respect to every defendant named in
each claim. Foushee v. Wiggins, No. 3:05€V7108, 2005 WL 1364613, at

*3 (N.D. Ohio June 8, 2005).16 Accordingly, the Court DISMISSES the

 

H As the Sixth Circuit explained, “If the plaintiff has exhausted his

administrative remedies, he may always refile his complaint and plead exhaustion
with sufficient detail to meet our heightened pleading requirement, assuming that
the relevant statute of limitations has not run." Id.

m This plaintiff has apparently been hindered in demonstrating that he

exhausted his claim by the disorganized manner in which his documents are arranged
and the fact that he chose to file two separate lawsuits on the same subject
matter that relied on different grievances. The plaintiff is advised that, in the
event he chooses to file future lawsuits, he should collect all his documents and
arrange them in some logical order prior to submitting the case for filing. In
this case, however, the complaint would be subject to dismissal even if the Court
examined the numerous grievances filed in case no. 05-2008 because the plaintiff

(continued...)

14

Case 2:05-cV-02054-.]P|\/|-de Document 10 Filed 08/29/05 Page 15 of 17 Page|D 15

complaint in its entirety, without prejudice, pursuant to 42 U.S.C.
§ l997e(a).17 In light of the dismissal of this action, the motions
for appointment of counsel and a hearing are DENIED.
III. Appeal Issues

The next issue to be addressed is whether plaintiff should
be allowed to appeal this decision ip fp;pa pauperis. Twenty-eight
U.S.C. § 1915(a)(3) provides that an appeal may not be taken lp fp£ma
pauperis if the trial court certifies in writing that it is not taken
in good faith.

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). An appeal is not taken in
good faith if the issue presented is frivolous. ldp Accordingly, it
would. be inconsistent for' a district court to determine that a
complaint should be dismissed prior to service on the defendants, yet
has sufficient merit to support an appeal lp fp;pa pauperis. §pg
Williams v. Kullman, 722 F.2d 1048, 1050 n.l (2d Cir. 1983). The same
considerations that lead the Court to dismiss this case also compel

the conclusion that an appeal would not be taken in good faith.

 

“ (...continued)

in that case did not exhaust his claims against defendants Luttrell, Henderson,
and Rudd. Thus, the failure to exhaust his claims against defendant Luttrell is,
in itself, sufficient to warrant dismissal of this complaint.

n In case no. 05-2008, the Court proceeded to dismiss certain claims
under the merits and to assess a strike pursuant to 28 U.S.C. § 1915(g). Because
this case was filed prior to the issuance of the dismissal order in case no. 05-
2008, it is not appropriate to assess a second strike concerning the same claims.
Nothing in this order is intended to confer on the plaintiff a right to bring suit
On any claim that was dismissed on the merits in case no. 05-2008.

15

Case 2:05-cV-02054-.]P|\/|-de Document 10 Filed 08/29/05 Page 16 of 17 Page|D 16

It is therefore CERTIFIED, pursuant to 28 U.S.C. §
1915(a)(3), that any appeal in this matter by plaintiff is not taken
in good faith and he may not proceed on appeal ip fp;ma pauperis.

The final matter to be addressed is the assessment of a
filing fee if plaintiff appeals the dismissal of this case.18 In
McGore v. Wriqqlesworth, 114 F.3d 601, 610-ll (6th Cir. 1997), the
Sixth Circuit set out specific procedures for implementing the PLRA.
Therefore, the plaintiff is instructed that if he wishes to take
advantage of the installment procedures for paying the appellate

filing fee, he must comply with the procedures set out in McGore and

 

 

§ 1915(b).
IT Is so 0RDERED this gel day of August, 2005.
JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE
w Effective November 1, 2003, the fee for docketing an appeal is $250.

See Judicial Conference Schedule of Fees, L 1, Note following 28 U.S.C. § 1913.
Under 28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

16

   

UN11EDS1A1SD151R1C COUR1- ESTERN D1"CR11 oF 1151stSSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CV-02054 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Sean NeWberg

SHELBY COUNTY JAIL
041 1 8656

201 Poplar Avenue
1\/1emphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

